     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                    RESPONSE – SIMILAR CASES



Appeal No. & Caption: ___________________________________________________
                      Kipke v. Moore, 24-1799(L)

Please select the appropriate option below:

      I am not aware of any cases pending in the United States Court of Appeals for the
      Fourth Circuit or the Supreme Court of the United States raising issues similar to
      those raised by the instant case.

 ✔    I am aware of the following case(s) pending in the United States Court of Appeals
      for the Fourth Circuit or the Supreme Court of the United States raising issues
      similar to those raised by the instant case. (Please include a concise description of
      the similar issues):

       Maryland Shall Issue v. Montgomery County, No. 23-1719 (firearms restrictions
       at schools, parks and recreational facilities, libraries, and hospitals); LaFave v.
       County of Fairfax, No. 24-1886 (firearms restrictions in parks).




Signature: _______________________
           /s/ Caroline S. Van Zile Counsel for: ____________________________
                                                 Amicus District of Columbia et al.

Date: ____________
      2/3/2025


      File using event: RESPONSE/ANSWER (to Similar Case notice)
